           Case: 1:19-cv-02519 Document #: 64 Filed: 08/26/19 Page 1 of 3 PageID #:3871

                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Doe #    Seller Name           Seller ID                                   Def. E-mail
      2   ahrex                 ahrex                                       rexsales@aliyun.com
     29   yklance               yklance                                     sales01@yklance.com
   532    MIFXIN US             A1HSS1IK5BFTUB                              Lightmfxus@outlook.com
   683    bingylov              bingylov                                    youjklc@163.com
  1078    tradeonlineroyal      tradeonlineroyal                            auction.cs92@suntekexpress.com
  1105    watchinweb            watchinweb                                  auction.cs72@pzwgecommerce.com
  1109    weddingmall2017       weddingmall2017                             auction.cs100@blesiya.com
  1125    xiaokisuntek          xiaokisuntek                                auction.cs61@blesiya.com
  1151    uebfashion            5276f4412dcc644b3df9a875                    18675541374@sina.cn
  1158    monsterlady           5344c1a25aefb06607e48bcd                    monsterlady123@gmail.com
  1159    varition              5355c65b796f680d96c28e2c                    2298549887@qq.com
  1161    tininess              53560050ab980a13f1622ad8                    18207425530@163.com
  1162    isyours               537418bf34067e425047377f                    isyours123@yeah.net
  1163    kindlyperson          53741cf67179515e875ea9e0                    18575513947@139.com
  1164    southerner            53789d5b796f684197096b0f                    yu1861239uiwo@sina.com
  1165    updation              5378ad1cbb72c540965249df                    updation@126.com
  1207    mini__mall            546f33b91280fa6a51f34f9c                    mini_mall@163.com
  1209    武汉世纪易方网络              5476e9ca1280fa350a887228                    jane@janecrafts.com

          技术有限公司
   1283   eallc                 55caddb3be47bb1180b9bc3f                    eallc.cindy@gmail.com
   1515   zjy2016               58199a2dd3d4474db697a685                    aaanight@163.com
   1528   eyes                  582ec95bec7fdb1b7d06d224                    wisheye@sinoteck.cc
   1570   better4ever           5854e7c853ac4153f61d603b                    qinpingec@foxmail.com
   1589   marydirectsale        586a21db705f104ca681924d                    marymeng01@hotmail.com
   1617   oceanmaps             58a5725d38be004fc885749b                    13148741173@163.com
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1640   dawefaefa              58b418af744a3f50dd23050d         gyy_1991@foxmail.com
1661   zhouxue198699          58c2afe941d7f15117b9c92a         jawenid@hotmail.com
1667   yajuanfeng             58c507f99148fb2c7219ece4         fyj8203@hotmail.com
1670   seashell02             58c7b47c984b0d51100f5dae         seashell02@21cn.com
1671   sunshine456            58c7bf75e1f46850ab8004a1         18373625951@163.com
1683   gooshopping            58cd062e8412c12d106f0a93         gooshopping@outlook.com
1689   queenmalls             58d3ba7ea9254d75365960c0         queenmalls@outlook.com
1749   oceaneshop03           58f9785991a95f6637b027db         992212739@qq.com
1758   tommygo                5900992f0094b814c9275611         tommygo21@outlook.com
1817   cityno1                5936a77d23be9454aa6221e8         cityno1-ws@outlook.com
1831   jkflying               5949175db9ef5274ebd9ea07         jkflying@outlook.com
1852   boomclap               595cd1face4e696367223fe8         boomclap-ws@outlook.com
1896   leftear09              5993f8c790a0f1365948a4a5         517581557@qq.com
1930   enjoyable365           59e71c1c9aee091450eca5be         18165736492@163.com
1947   weixiang006store       5a0835aa7276531440268e8a         weixiang769@163.com
2001   fangshaobo             5a902919a6f62e21e3e5006d         shaobof@outlook.com
2007   hufds                  5aa15885a71fbf602ee99033         simple.wewe@gmail.com
2009   haoyuny                5aa6854d9d5e977459416935         hongyuy777@hotmail.com
2011   meimeideqin            5aa7ab4fc9894971852d7b38         zmeiqin987@gmail.com
2012   zhouhai000             5aa930ce823a3e30ade5423a         zhhhhzzz@hotmail.com
2020   huahongclothingstore   5ac09ce6417cee4aa0009cc9         blackpinkchampagne20@hotmail.co
                                                               m
2022   baozhenwushu           5ac5699d18435412096d254d         riseslowly2018@outlook.com
2026   liuhaiqingai           5acad7b4e0538871f1dc8339         dream-0001@outlook.com
2028   chucuezhaji            5acd7a2f40626a314c132bda         skychen415@outlook.com
2030   dsanugh                5acef6cba71fbf6eafc98191         bigpig2024@outlook.com
2031   vventtioooa            5acef86815511a31b4fc277c         summer_songs@outlook.com
2032   zhangyinpin            5acf04321b98df6a78c2b099         battalegrounds2018@hotmail.com
2033   hebbixxll              5acf086970cf69757fc7988b         zhaojingzxcm@163.com
2034   panxiaoyan             5acf1bec856edf01d493d857         coutingstars2018@hotmail.com
2035   yangxueqing            5acf2091cd968d299afe79a3         yueguang2020@outlook.com
2037   dawmotaa               5acf4db1417cee463627f7ed         fashionalley@outlook.com
2038   liaishenhou            5ad00d9acd968d0acc1eebd8         fl1807@outlook.com
2039   zhaoyanniu             5ad0268f2dde5e66c4b46517         j.pengg1186@outlook.com
2040   minerzhiqian           5ad0383f70cf690809501369         teenagedream01@outlook.com
2041   qiuhongyudong          5ad03c5c1b98df2658c242fd         dream-0003@outlook.com
2046   ashiyuji               5ae2d68a417cee529872e6f1         ll_lixiang@outlook.com
2048   aishishanja            5ae803629c15ff0c4bec86bd         perfume_creeping@outlook.com
2049   uuwywiaq               5ae94014d204cc1bc913eb8d         boo_normal@outlook.com
2050   iiuwiiziiaq            5ae97874627d192265684ab8         across_sea@outlook.com
2051   lingdangzhshi          5aea970920388a256d94631e         dong_muse@outlook.com
2052   kkuwioozv              5aeab46f8aaf7a13428e28b7         deep_end@outlook.com
2054   qianlitiaoyi           5aed6aba1c250037c9fbeb12         order_in_disarray@outlook.com
2055   malifu                 5aed7f727824ca07bc395407         new_slow@outlook.com
2056   hismehaoran            5aee5870e9b7236831e113c1         love_alive@outlook.com
2057   zuoyashi               5aee61184972793a3341476e         stars_glisten@outlook.com
2082   xiangtanhe             5b405e5726dfa15dfcafc450         13203105466@163.com
2084   eucalyptusseed717      5b4d966b457fbc2909edcc6f         w15173379525@outlook.com
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  2085   canteenflower1549   5b4ef2621fad502e676bf8bf             ab18207425530@outlook.com
  2086   flowerbudclothes    5b67e64a7627ed18f53ab987             h19976655565@outlook.com
  2087   exoterica           5b6e5640d50c29103f51d0bb             ohsehuncs@163.com
  2088   shumaxiaocheng      5b73f134914a226dd3354f18             liym@aebitsry.com
  2091   nkhift              5b99a73c2001902cda7b0f5e             shi11yong7bao@outlook.com
  2086   flowerbudclothes    5b67e64a7627ed18f53ab987             h19976655565@outlook.com
  2087   exoterica           5b6e5640d50c29103f51d0bb             ohsehuncs@163.com
  2088   shumaxiaocheng      5b73f134914a226dd3354f18             liym@aebitsry.com
  2091   nkhift              5b99a73c2001902cda7b0f5e             shi11yong7bao@outlook.com


Dated: August 26 2019
                                                                Respectfully submitted,

                                                                   By:    /s/ Rishi Nair

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